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EXHIBIT A
86th District Court

421 Madison Street Detroit, M1 48226

 

Announcements

More Announcements

Information Concerning the CDC Eviction Moratorium
Aug 04, 2021

Late this afternoon, the 36" District Court was informed that the CDC has re-classified Wayne County
as an area under threat of “substantial” community transmission of COVID-19. As a result, both
Wayne County and the City of Detroit now fall under the umbrella of the CDC’s eviction moratorium.

Effective immediately, no residential evictions will proceed for nonpayment of rent in the City of
Detroit.

While the CDC order references the COVID-19 infection rates of counties, the City of Detroit is the
largest city in Wayne County and the State of Michigan. While there has been some confusion
regarding transmission levels and whether the eviction moratorium applied to Wayne County, it is clear
that the new eviction moratorium was intended to protect the citizens of Detroit and Wayne County.

| would like to thank Congresswoman Rashida Tlaib for her leadership on this issue. Conflicting
guidance created much confusion throughout the day as to whether the City of Detroit qualified for
inclusion in the CDC's moratorium. Absent her efforts, it is unclear how many Detroit families would be
facing imminent eviction from their homes at this moment.

The data provided in the CDC’s Order shows a strong correlation between high eviction rates in
“socially vulnerable” areas and elevated community transmission of COVID-19. This current eviction
moratorium is forecasted to save an untold number of lives by ensuring that residents can remain in
their homes as the delta variant continues to rapidly spread throughout the nation.

Despite the new eviction moratorium, landlords and tenants should still continue to seek financial
assistance from the COVID-19 Emergency Rental Assistance (CERA) program. Tenants facing
possible eviction should contact the Detroit Eviction Helpline at 866-313-2520 or
www.DetroitEvictionHelp.com.

Please make sure to stay updated on this and any future efforts regarding evictions by visiting the
Court’s website at www.36thdistrictcourt.org.
